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The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 26, 2023
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                 §
      In re:                                                         Chapter 11
                                                                 §
                                                                 §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                 §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.         §
                                                                 §


     ORDER REGARDING HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY
         MOTION FOR EXPEDITED DISCOVERY OR, ALTERNATIVELY, FOR
                 CONTINUANCE OF THE JUNE 8, 2023 HEARING
                                        [Dkt. Nos. 3788 and 3791]


               Having considered the Emergency Motion for Expedited Discovery or, Alternatively, for

     Continuance of the June 8, 2023 Hearing of Hunter Mountain Investment Trust (“HMIT”) filed

     on May 24, 2023, at Dkt. No. 3788 (“Motion for Expedited Discovery”), and, separately, on May

     25, 2023, at Dkt. No. 3791 (“Motion for Continuance,” and, together with the Motion for

     Expedited Discovery, the “Motions”), and the arguments of counsel at the emergency hearing on

     the Motions held on Friday May 26, 2023, at 9:30 a.m.,

                                                     1
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       IT IS ORDERED that the Motion for Continuance be, and hereby is, DENIED;

       IT IS FURTHER ORDERED that the Motion for Expedited Discovery be, and hereby

is, GRANTED, in part and only to the extent as set forth below:

   (1) To the extent any party would like to depose either James P. Seery, Jr. or James Dondero

       in advance of the June 8 hearing (“June 8 Hearing”) on HMIT’s Emergency Motion for

       Leave to File Verified Adversary Proceeding [Dkt. No. 3699] and Supplement to

       Emergency Motion for Leave to File Verified Adversary Proceeding [Dkt. 3760] (together,

       the “Motion for Leave”), Mr. Seery and Mr. Dondero shall be made available for

       depositions (“Depositions”) on a date and at a time agreeable to the parties that is no earlier

       than May 31, 2023, and no later than June 7, 2023, and no discovery or depositions of any

       other party or witness will be permitted prior to the June 8 hearing; and

   (2) None of the parties shall be entitled to any other discovery, including the production of

       documents from Mr. Seery or Mr. Dondero, or any other party or witness pursuant to a

       subpoena duces tecum, or otherwise, prior to the conduct of the Depositions or to the

       court’s ruling on the Motion for Leave following the June 8, 2023 hearing;

       IT IS FURTHER ORDERED that, except as specifically set forth in this Order, HMIT’s

Motion for Expedited Discovery be, and hereby is, DENIED.

                                  # # # END OF ORDER # # #




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